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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

              Defendants.
                                                  /

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-20066


JEFF GARVIN SMITH et al.,

              Defendants.
                                                  /

        OPINION AND ORDER GRANTING IN PART MOTION TO CONTINUE
               AND EXCLUDING TIME FOR SPEEDY TRIAL ACT

       Before the court is a motion to continue and extend dates, filed by Defendants

Jeff Garvin Smith and Paul Darrah. The motion is specifically joined by Defendants

Patrick McKeoun, Cary Dale Vandiver, Michael Kenneth Rich, and Edward Taylor, and

includes a notation that the dates requested are “agreeable to all Defense Counsel

representing clients in Group One.” (Mot. at 5.) Government counsel concurs in the

requested relief. In the motion, Defendants detail the significant issues they have

experienced in preparing for trial, mostly related to the technical difficulties associated

with incarcerated Defendants reviewing vast amounts of electronic discovery and

assisting in preparation of the defense. Through regular status conferences, the court is
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aware of these issues and, together with Government counsel and all Defense

attorneys, has endeavored to curb any unnecessary delay and keep the case

proceeding as quickly as possible. The court is persuaded that an extension is

warranted, due to circumstances outside the control of any party or the court’s

intervention. The court is, however, not persuaded that the lengthy extension requested

by the parties is necessary. Accordingly, the court will grant the motion in part and

extend dates to some, but not the entire, degree requested. Thus,

       IT IS ORDERED that the motion to continue and extend [Dkt. # 712] is

GRANTED IN PART and dates are extended as follows:

       All motions related to Trial Group One Defendants1 shall be filed by May 20,

2014. Any Defendants not scheduled for trial in Group One who seek to file

substantively identical motions shall join in any applicable motions, but need not file any

motions unrelated to Group One Defendants.2 [See Dkt. # 707.] Responses shall be

due June 10, 2014, and optional replies shall be filed by June 20, 2014.

       Counsel are directed to organize the aspects of trial preparation as set forth in

the court's “Order Amending Standing Order For Discovery.” A final pretrial and

negotiated guilty plea cutoff will occur, on the record, on July 29, 2014, at 2:00 pm.

The Government is directed to proffer any proposed guilty plea agreement to the

defendant not later than one week before that date. Defendants must attend.


       1
       D-1 Scott William Sutherland; D-2 Ronald Raymond Roberts; D-3 David Thomas
Roberts; D-4 Patrick Michael McKeoun; D-5 Jeff Garvin Smith; D-6 Paul Anthony
Darrah; D-7 Cary Dale Vandiver; D-8 Vincent John Witort; D-13 Gary Lee Nelson; and
D-17 David Randy Drozdowksi.
       2
         Defendants are once again strongly encouraged to streamline proceedings by
joining in motions, rather than file multiple motions on the same substantive issue.
                                             2
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Defendants, if free on bond, are ORDERED to appear at or near courtroom #712 at

least fifteen minutes before the scheduled pretrial is to commence.

          IT IS FURTHER ORDERED that Group One Defendants shall proceed to jury

trial on August 25, 2014 at 9:00 a.m.

          Finally, IT IS ORDERED that the time period from April 15, 2014 to August 25,

2014, shall be excludable from time calculation mandated by the Speedy Trial Act, 18

U.S.C. § 3161(h)(7)(B)(i)&(ii), and that the ends of justice served by this delay outweigh

the public's and the defendants’ interest in a speedy trial.


                                                                   s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE
Dated: February 13, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 13, 2014, by electronic and/or ordinary mail.

                                                                   s/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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